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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             NORTHERN DIVISION

          CHARLES SLAUGHTER
                                                                PLAINTIFF

          V.                 CIVIL ACTION NO. 3:20-cv-789-CWR-FKB

          DR. DANIEL P. EDNEY, IN
          HIS OFFICIAL CAPACITY AS
          THE MISSISSIPPI STATE
          HEALTH OFFICER, ET AL.
                                                               DEFENDANTS


                        DEPOSITION OF DANIEL SULLIVAN


                  Taken at the instance of the Plaintiff at
               Butler Snow, LLP, 1020 Highland Colony Parkway,
              Suite 1400, Ridgeland, Mississippi, on Wednesday,
                               April 19, 2023,
                            beginning at 8:56 a.m.




                                        7

                                    REPORTED BY:
                         GINGER H. BROOKS, CCR #1165
                         CRR, RPR, CRC, CCR, CLR, RSA




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     1    and there was a dramatic surge in the number of
     2    home health agencies in Florida back then.                And
     3    so, you know, you're including some states that
     4    don't have Certificate of Need regulation, and
     5    you're including some that do.           I mean, obviously,
     6    most of them do.
     7          Q.    If the eight of the 10 states in that
     8    10-state region, if they removed their HHA CONs,
     9    do you think that would be disruptive to their HHA
    10    market?
    11          A.    Yes.
    12                MR. SHELVER:      Objection.
    13          Q.    (By Mr. Rice)      And why would that be?
    14          A.    I mean, it would -- it would result in
    15    a -- you know, sort of a flood of new providers.
    16                You know, I can -- I can give you an
    17    example.    Indiana got rid of its Certificate of
    18    Need program, gosh, probably 15 to 20 years ago
    19    now, and when that happened, there was a dramatic
    20    increase in the number of home health providers in
    21    the marketplace, and I was involved in an
    22    antitrust case involving home health in Indiana,
    23    and, you know, it was sort of a chaotic situation.
    24                You know, in some of these counties, you
    25    might have 40 or 50 authorized home health



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     1    abuse going on.
     2          Q.    Okay.     And setting aside fraud and
     3    abuse, I just want to talk utilization right now.
     4          A.    Well, I mean, that's directly tied to
     5    utilization because patients are getting
     6    inappropriately admitted to home health agency
     7    services and it's artificially increasing
     8    utilization of services, and that's -- that's a
     9    concern.
    10          Q.    So, and again, setting aside any
    11    potential fraud and abuse that you mentioned, I
    12    just want to focus on the utilization.               You're
    13    saying that the utilization does go up when
    14    there's more providers there?
    15                MS. SMITH:      Object to form.
    16                THE WITNESS:      Yeah, I don't know if I
    17          can separate the fraud and abuse from that.
    18          The more providers you have, the more people
    19          are going to be turning over rocks trying to
    20          find a patient to serve, and, in some cases,
    21          they're making questionable judgments about
    22          whether the patient really needs the service.
    23          Q.    (By Mr. Rice)      So there's less --
    24    there's less -- well, strike that.
    25                There's more demand in these states if



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     1                  CERTIFICATE OF COURT REPORTER
     2                I, Ginger H. Brooks, Court Reporter and
     3    Notary Public, in and for the State of
     4    Mississippi, hereby certify that the foregoing
     5    contains a true and correct transcript of the
     6    testimony of DANIEL SULLIVAN, as taken by me in
     7    the aforementioned matter at the time and place
     8    heretofore stated, as taken by stenotype and later
     9    reduced to typewritten form under my supervision
    10    by means of computer-aided transcription.
    11                I further certify that under the
    12    authority vested in me by the State of Mississippi
    13    that the witness was placed under oath by me to
    14    truthfully answer all questions in the matter.
    15                I further certify that, to the best of
    16    my knowledge, I am not in the employ of or related
    17    to any party in this matter and have no interest,
    18    monetary or otherwise, in the final outcome of
    19    this matter.
    20                Witness my signature and seal this the
    21    23rd day of May, 2023.
    22
    23                                        _______________________
                                              GINGER H. BROOKS, #1165
    24                                        CRR, RPR, CCR
          My Commission Expires:
    25    September 18, 2025



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